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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No.: 5:19-02311 JWH (ADS)                                  Date: April 19, 2021____
 Title: Aaron Alan Falls v. Alyssa Vernal, et al.                       _____________


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                 None Reported
                Deputy Clerk                              Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
               None Present                                     None Present

 Proceedings:          (IN CHAMBERS) ORDER REGARDING PLAINTIFF’S
                       NOTICE OF ELECTION

        On March 29, 2021, the Court entered an order [Dkt. No. 39], which, among
 other things, provided Plaintiff Aaron Alan Falls (“Plaintiff”) the option of electing to
 proceed on only the below claims in the Third Amended Complaint:

    1. Purported Claim I for deliberate indifference to safety against Deputy Perez in his
       individual capacity only as related to the first vehicle accident between a third-
       party car and the bus that Plaintiff was a passenger on;
    2. Purported Claim III for deliberate indifference to medical need against
       Lieutenant Vernal in her individual capacity only; and
    3. Purported Claim VII for a Monell claim against the County of Riverside and
       Riverside Sheriff’s Department for its practice of unsafe transportation of
       detainees.

        On April 12, 2021, the Court received a “Notice of Election” filed by Plaintiff
 stating that he was electing to proceed with only the three above identified claims. [Dkt.
 No. 40].

        Plaintiff’s election is accepted and a separate order directing the issuance of
 summonses and procedures shall be issued in accordance with Plaintiff’s election and
 this Order.

        IT IS SO ORDERED.
                                                                      Initials of Clerk kh
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